                                                                             Motion GRANTED
                                                                             for extension as
                            UNITED STATES DISTRICT COURT                     requested.
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )           NO. 1:12-cr-00001
                                               )
                                               )           JUDGE TRAUGER
JIKINTE LASHANE MORRIS and                     )
WAYNE HAMPTON, JR.

            UNOPPOSED MOTION TO EXTEND PLEA NEGOTIATION DEADLINE


       The United States, through Jerry E. Martin, United States Attorney for the Middle

District of Tennessee, and Lynne T. Ingram, Assistant United States Attorney, respectfully

requests an extension for plea negotiations, until Monday, September 7, 2012 at 5:00 p.m., for

the defendants to notify the government that they are pleading guilty. Both defense counsel have

been notified of this request.




                                                   Respectfully submitted,


                                                   JERRY E. MARTIN
                                                   United States Attorney


                                                   s/ Lynne T. Ingram
                                                   Lynne T. Ingram
                                                   Assistant United States Attorney
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